        Case 1:16-cv-12120-DJC Document 168 Filed 01/12/21 Page 1 of 2




                         UNITED STATED DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


SARAH DUNCAN, RICHARD
SILVER, ANTHONY                                 Civil Action No. 1:16-CV-12120-DJC
WEISSENBURGER, JUDY
WEISSENBURGER, SHAUN
COONEY, CLINTON STEWART,
MICHELLE LIM STEWART,
VINCENT CHIARELLI, PHILIP
DRAGONETTI, MICHELE
MASZON, LISA SUROWEIC and
JOHN COMPTON, individually and
on behalf of others similarly situated,

                      Plaintiffs,

           vs.

NISSAN NORTH AMERICA, INC.,

                      Defendant.


  XXXXXXXX ORDER ON PLAINTIFFS’ ASSENTED-TO MOTION FOR
 [PROPOSED]
APPROVAL OF SETTLEMENT WITH OBJECTOR BETH WILLIAMSON

       THIS MATTER having come before the Court by way of Plaintiffs’ Assented-to Motion

for Approval of Settlement with Objector Beth Williamson pursuant to Fed. R. Civ. P. 23(e) and

Fed. Rule Civ. P. 62.1 for consideration and approval of the parties’ settlement with individual

objector/appellant Beth Williamson.

       WHEREAS, the Court granted final approval of the Class Settlement and entered an

Order granting Final Approval on August 25, 2020 (ECF 152);

       WHEREAS, Ms. Williamson timely filed a notice of appeal in the Court of Appeals for

the First Circuit of the Final Approval Order and Judgment;
         Case 1:16-cv-12120-DJC Document 168 Filed 01/12/21 Page 2 of 2




       WHEREAS, Plaintiffs Sarah Duncan, Richard Silver, Anthony Weissenburger, Judy

Weissenburger, Shaun Cooney, Clinton Stewart, Michelle Lim Stewart, Vincent Chiarelli, Philip

Dragonetti, Michele Maszon, Lisa Suroweic and John Compton, individually and on behalf of

others similarly situated reached an individual settlement agreement with Ms. Williamson;

       WHEREAS, the First Circuit has dismissed Ms. Williamson’s appeal, and Plaintiffs have

filed a motion, pursuant to Fed. R. Civ. P. 23(e), for approval of the individual settlement with

Ms. Williamson;

       WHEREAS, settlement of Ms. Williamson’s objection and appeal is in the best interests

of all Class Members;

                       12thday of ________,
       IT IS ON THIS _____         January 2021 ORDERED and, ADJUDGED as follows:

       The Court grants approval of the Settlement with Objector Beth Williamson.




                                            ____________________________
                                            DENISE J. CASPER, U.S.D.J.




                                               2
